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1
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3     San Diego, CA 92123
      Telephone: 619-683-7971
4
      chrisr@prato-reichman.com
5

6
      Attorney for Plaintiff

7

8
                                UNITED STATES DISTRICT COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
10

       JONATHAN SAPAN,                                         Case No: 15-cv-00897 MMA MDD
11

12
                               Plaintiff,                      JOINT MOTION TO DISMISS
13
               vs.                                             ENTIRE CASE WITH
14                                                             PREJUDICE
15     SOLARMAX TECHNOLOGY, INC., a
       California Corporation; and DAVID HSU,
16
       an individual,
17

18                             Defendants.
19

20
              By and through their respective counsels, Plaintiff JONATHAN SAPAN
21

22
      and all Defendants (SOLARMAX TECHNOLOGY, INC. and DAVID HSU) give
23    the Court notice that they have settled this matter in its entirety and they therefore
24
      jointly move and hereby stipulate to the dismissal, with prejudice, of Plaintiff’s
25

26    Complaint pursuant to Federal Rule of Civil Procedure 41(a). A proposed order
27
      reflecting the dismissal is provided.
28



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      ________________________________________________________________________________________________________

                                            Joint Motion To Dismiss Case
     Case 3:15-cv-00897-MMA-MDD Document 23 Filed 09/14/15 PageID.104 Page 2 of 4




1
      DATED: September 15, 2015                               PRATO & REICHMAN, APC

2

3
                                                              /s/Christopher J. Reichman, Esq.
4
                                                              By: Christopher J. Reichman, Esq.
5                                                             Prato & Reichman, APC
6
                                                              Attorneys for Plaintiff
                                                              JONATHAN SAPAN
7

8
      DATED: September 15, 2015
9

10
                                                              /s/Matthew Gorman
11
                                                              By: Matthew Gorman
12                                                            Attorneys for Defendants
13
                                                              SOLARMAX TECHNOLOGY, INC.
                                                              and DAVID HSU
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                                          Joint Motion To Dismiss Case
     Case 3:15-cv-00897-MMA-MDD Document 23 Filed 09/14/15 PageID.105 Page 3 of 4




1
                                              ATTESTATION
2

3
              I hereby attest that Matthew Gorman has given me approval to file this Joint
4

5     Motion To Dismiss. I declare under penalty of perjury under the laws of the
6
      United States that the foregoing is true and correct.
7

8

9
      DATED: September 15, 2015                               PRATO & REICHMAN, APC
10

11

12                                                            /s/Christopher J. Reichman, Esq.
13
                                                              By: Christopher J. Reichman, Esq.
                                                              Prato & Reichman, APC
14
                                                              Attorneys for Plaintiff
15                                                            JONATHAN SAPAN
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                                          Joint Motion To Dismiss Case
     Case 3:15-cv-00897-MMA-MDD Document 23 Filed 09/14/15 PageID.106 Page 4 of 4




1
                                     CERTIFICATE OF SERVICE
2

3
              I hereby certify that the above and foregoing instrument was served upon all
4

5     counsel of record in the above entitled and numbered cause on September 15,
6
      2015.
7

8

9     __X__ Via ECF
10

11    Matthew Gorman, Esq.
      Attorneys for Defendants
12
      SOLARMAX TECHNOLOGY, INC.
13    and DAVID HSU
14
      mgorman@gormanfirm.com
15

16    DATED: September 15, 2015                               PRATO & REICHMAN, APC
17

18

19
                                                              /s/Christopher J. Reichman, Esq.
                                                              By: Christopher J. Reichman, Esq.
20                                                            Prato & Reichman, APC
21                                                            Attorneys for Plaintiff
                                                              JONATHAN SAPAN
22

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      ________________________________________________________________________________________________________

                                          Joint Motion To Dismiss Case
